      Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 1 of 39




              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 SAMANTHA BANKS and
 AMY SANUSI,
                                              Civil Action No.
           Plaintiffs,

 v.
                                              JURY TRIAL DEMANDED
 GRADY MEMORIAL HOSPITAL
 CORPORATION,

           Defendant.

                                   COMPLAINT
      Plaintiffs Samantha Banks and Amy Sanusi file this Complaint against

Defendant Grady Memorial Hospital Corporation (“Defendant”). Plaintiffs show

the Court as follows:

                                 INTRODUCTION

      1.      This case concerns discrimination on the basis of national origin and

retaliation for opposing such discrimination. Tabitha Johnson, Defendant’s Director

of its Mother/Baby Unit (the “Unit”), harassed and discriminated against employees

in the Unit who were of African nationality or origin, in violation of Title VII of the

Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq. (“Title VII”). Defendant was

repeatedly made aware of Ms. Johnson’s unlawful conduct but nevertheless failed

                                          1
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 2 of 39




to take reasonable (or any) steps to stop or prevent Ms. Johnson’s discriminatory

treatment of the Unit’s African nurses and/or African applicants for positions within

the Unit.

      2.     In particular, Defendant retaliated against Plaintiff Sanusi, a native of

Sierra Leone, by denying her a promotion for which she was well qualified in

retaliation for Ms. Sanusi’s repeated opposition to Ms. Johnson’s discriminatory

conduct towards herself and the Unit’s other African nurses. Further, Defendant

discriminated against Ms. Sanusi on the basis of her national origin by terminating

her employment. In addition, or in the alternative, Defendant retaliated against

Ms. Sanusi by terminating her employment after she repeatedly opposed

Ms. Johnson’s discriminatory conduct.

      3.     Similarly, Defendant retaliated against Plaintiff Banks, who is of

African descent, by disciplining her and then constructively terminating her

employment after she opposed Ms. Johnson’s discriminatory conduct against the

Unit’s African nurses, by, inter alia: repeatedly complaining to Human Resources

after Ms. Johnson made disparaging comments about/towards the Unit’s African

nurses; directly opposing discriminatory comments made by Ms. Johnson

concerning her express desire to reject job applicants who she believed to be of




                                          2
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 3 of 39




African origin; and voicing opposition to Ms. Johnson’s assumption of the Director

role based on her history of discrimination against individuals from Africa.

      4.     Defendant’s violations of Title VII created an immense amount of

emotional distress and stress for Plaintiffs for which they both required, among other

things, medical leave and treatment.

      5.     Ms. Sanusi asserts claims against Defendant under Title VII for

retaliatory denial of promotion (Count I), discriminatory termination on the basis of

national origin (Count II), and retaliatory termination (Count III).

      6.     Ms. Banks asserts claims for retaliation and retaliatory termination

against Defendant under Title VII (Counts IV and V).

      7.     Plaintiffs seek all available relief under Title VII, including lost wages

and benefits, compensatory damages, punitive damages, prejudgment and

post-judgment interest, and attorneys’ fees and costs.

                         JURISDICTION AND VENUE

      8.     This court has federal-question jurisdiction over Plaintiffs’ Title VII

claims, pursuant to 28 U.S.C. § 1331.

      9.     Pursuant to 28 U.S.C. § 1391(b), 42 U.S.C. § 2000e-5(f)(3), and Local

Rule 3.1(B), venue is proper in this Court because the unlawful employment




                                          3
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 4 of 39




practices described herein were primarily committed within the Atlanta Division of

the Northern District of Georgia.

                                      PARTIES

         10.   Plaintiff Amy Sanusi is a citizen of Sierra Leone and a permanent

resident of the United States; she submits herself to the jurisdiction of the Court.

         11.   Ms. Sanusi was employed by Defendant from approximately

February 2017 until on or about October 6, 2020. At the time that Defendant

terminated her employment, her title was Registered Nurse.

         12.   Plaintiff Samantha Banks is a citizen of the United States of America

and a resident of the State of Georgia; she submits herself to the jurisdiction of the

Court.

         13.   Ms. Banks was employed by Defendant from approximately

March 2019 to on or about May 6, 2020. At the time that Defendant constructively

terminated her employment, her title was Clinical Staff Manager.

         14.   Defendant is a Georgia nonprofit corporation with its principal place of

business at 80 Jesse Hill Jr. Drive SE, P.O. Box 26145, Atlanta, Georgia 30303.

         15.   Defendant may be served with process through its registered agent,

Timothy Jefferson, at 80 Jesse Hill Jr. Drive SE, Atlanta, Georgia 30303.




                                           4
      Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 5 of 39




      16.    Defendant is an “employer” within the definition of Title VII and is

governed by Title VII.

      17.    Plaintiffs were “employee[s]” of Defendant within the meaning of

Title VII at all times relevant to this Complaint.

                       ADMINISTRATIVE EXHAUSTION

      18.     Plaintiffs have satisfied all administrative prerequisites for bringing

their Title VII claims in this court.

      19.    On July 30, 2020, Ms. Banks timely filed a Charge of Discrimination

(Charge     No. 410-2020-05449)         with   the   Equal   Employment    Opportunity

Commission (“EEOC”), in which she asserted her Title VII claims against

Defendant.

      20.    On December 8, 2020, Ms. Sanusi timely filed a Charge of

Discrimination with the EEOC (Charge No. 410-2021-01842), in which she asserted

her Title VII claims against Defendant.

      21.    On February 2, 2021, the EEOC issued Notices of Right to Sue

regarding both Plaintiffs’ Charges of Discrimination.

      22.    Plaintiffs bring this suit within ninety (90) days of their receipt of their

respective Notices of Right to Sue.




                                               5
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 6 of 39




                           STATEMENT OF FACTS

      23.    Plaintiff Amy Sanusi was Defendant’s employee from approximately

February 2017 to on or about October 6, 2020. She was and is a Registered Nurse.

      24.    Ms. Sanusi worked in the Unit throughout her employment with

Defendant.

      25.    Ms. Sanusi is originally from Sierra Leone. She has lived and worked

in the United States for over thirty (30) years. She spent several of those years

gaining leadership experience as a Charge Nurse, both prior to and after her

employment with Defendant began.

      26.    During her employment with Defendant, Ms. Sanusi received ten (10)

Daisy Award nominations, Defendant’s highest nursing award. Ms. Sanusi was

awarded as an honoree in November 2019.

      27.    Plaintiff Samantha Banks, a Registered Nurse, began her career with

Defendant on or about March 4, 2019, and began working in the Unit.

      28.    Unit nurses reported either to Charge Nurses or Clinical Staff

Managers, whichever was available that day. Charge Nurses, in turn, reported to

Clinical Staff Managers. Clinical Staff Managers reported to the Unit Director.

      29.    On or about April 24, 2019, then-Clinical Staff Manager Tabitha

Johnson called Ms. Banks into her office to discuss complaints that she had received

                                         6
      Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 7 of 39




about some of the nurses in the Unit. Specifically, Ms. Johnson stated that the

African nurses in the Unit tended to be “rough, especially those Nigerians.” The

nurses Ms. Johnson was referring to were all of African descent.

      30.    That afternoon, on or about April 24, 2019, Ms. Banks informed the

Unit’s then-Director, Evelyn Laka, of the discriminatory statements that

Ms. Johnson had made about the Unit’s African nurses. Ms. Laka stated that she

would talk to Ms. Johnson.

      31.    Ms. Johnson made numerous statements about Nigerians and their

“ways” to Ms. Banks and in her presence.

      32.    On approximately June 27, 2019, Ms. Banks and Ms. Johnson were

members of a panel interviewing candidates for a nursing position within the Unit.

Ms. Johnson stated that she would not hire any more African nurses. Ms. Johnson

further stated that she would reject resumes with “African-sounding names.” When

Ms. Banks asked for the rationale supporting Ms. Johnson’s position, Ms. Johnson

stated that it was “time to change the face of the Unit,” or words to that effect.

      33.    Ms. Banks is approximately 34% Nigerian and her direct ancestors

were almost exclusively from Africa and Nigeria.              Ms. Banks challenged

Ms. Johnson’s statements by raising concerns about the fairness of Ms. Johnson’s

position to Ms. Laka.

                                           7
      Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 8 of 39




      34.    Ms. Banks’s opposition to Ms. Johnson’s discrimination towards the

Unit’s African nursing staff and job applicants who Ms. Johnson believed to be

African constituted protected activity under Title VII.

      35.    On or about June 28, 2019, Ms. Johnson created a pie chart on her

computer representing the different ethnicities of the Unit’s staff. Ms. Johnson told

Ms. Banks that there were “too many Nigerians or Africans,” and that it was “time

to dilute some of the Nigerians out,” or words to that effect.

      36.    Ms. Johnson shared the pie chart with the Unit’s Clinical Nurse

Educator, Carlotta Gabriele, Ms. Laka, and Ms. Banks. Ms. Johnson informed

Ms. Banks that she would be meeting with Sabrina Broadnax of Human Resources

to discuss the pie chart.

      37.    In response to the pie chart, Ms. Banks informed Ms. Johnson that she

was approximately 99% African.           Ms. Johnson’s treatment of Ms. Banks

deteriorated after Ms. Banks made that disclosure.

      38.    Ms. Banks and Ms. Gabriele asked Ms. Laka, who is of African

descent, why she allowed Ms. Johnson to discriminate against the Unit’s African

nurses. Ms. Laka acknowledged that Ms. Johnson treated her badly and stated that

she would speak with Ms. Johnson.




                                          8
      Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 9 of 39




      39.    Ms. Laka never corrected Ms. Johnson’s discriminatory behavior, even

in the presence of other leaders and staff members, and appeared to be intimidated

by Ms. Johnson, who often treated Ms. Laka with disdain.

      40.    When Ms. Sanusi began working in the Unit, African and foreign

nurses constituted a majority of the Unit’s approximately twenty-five (25) to

thirty (30) nurses.

      41.    The Unit’s nursing staff was effectively divided into two camps,

American nurses versus African and foreign nurses. The American nurses largely

avoided interacting with the African and foreign nurses, who they often derided.

      42.    In approximately August 2019, the Unit’s nursing staff was informed

that several Charge Nurse positions were being eliminated. Those Charge Nurses

whose positions were being eliminated, including Ms. Banks, would have the

opportunity to apply for either the newly created role of Clinical Care Coordinator

or Clinical Staff Manager.

      43.    On or about August 19, 2019, Defendant hired Oluseyi Abatan, who is

Nigerian, as Clinical Staff Manager. Ms. Laka informed Ms. Johnson that she and

Ms. Abatan would share an office as Clinical Staff Managers.




                                         9
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 10 of 39




      44.    In response to the news that she would be sharing an office with

Ms. Abatan, Ms. Johnson told Ms. Banks, “I refuse to share an office with that loud,

obnoxious Nigerian,” or words to that effect.

      45.    During August 2019, Ms. Johnson made several remarks to Ms. Banks

about the Nigerian nurses. In particular, she stated that Ms. Abatan was “sloppy,

loud, and aggravating,” or words to that effect.

      46.    On or about August 29, 2019, Ms. Banks interviewed for the role of

Clinical Staff Manager, which she accepted on or about September 6, 2019.

      47.    In approximately October 2019, Ms. Sanusi, who was then a Charge

Nurse, applied for the position of Clinical Care Coordinator.

      48.    While both Charge Nurses and Clinical Care Coordinator had some

supervisory duties in addition to patient-care duties, the Clinical Care Coordinator

position would be a promotion from Charge Nurse.

      49.    In approximately late October 2019, Ms. Laka’s employment with

Defendant was terminated. During that same time period, Linda Wildey, who had

previously served as Vice President of Women’s Services, was rehired in that role

on an interim basis.




                                         10
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 11 of 39




      50.   Ms. Sanusi interviewed for the position of Clinical Care Coordinator

and was provided an offer by Defendant’s Human Resources department on or about

November 5, 2019, which included a salary increase.

      51.   Ms. Sanusi accepted the offer and was provided with a start date.

Nevertheless, Ms. Johnson and Ms. Wildey subsequently informed Ms. Sanusi that

they were rescinding the offer because Ms. Sanusi had a reprimand in her personnel

file that was more than nine (9) months old.

      52.   According to Defendant’s official policy, an employee may not apply

for a new position with Defendant if they have received a reprimand in the previous

twelve (12) months.

      53.   However, Defendant’s widely known and routine practice was to allow

employees to apply for positions so long as they did not have any reprimands within

the preceding six (6) months. In fact, on or about September 27, 2019, Ms. Sanusi

was encouraged to apply for the role of Clinical Care Coordinator by Deonte Fuller

in Defendant’s Human Resources Department, even though he knew that Ms. Sanusi

had received a reprimand within the last 12 months.

      54.   Rather than adhere to Defendant’s widely-known and standard practice

of permitting employees to apply for positions if the employee did not have a




                                        11
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 12 of 39




reprimand within the preceding 6 months, Ms. Johnson and Ms. Wildey informed

Ms. Sanusi that she would be required to wait the full 12-month period.

      55.    Despite Ms. Johnson’s and Ms. Wildey’s enforcement of the 12-month

policy against Ms. Sanusi with respect to her application for the Clinical Care

Coordinator position, Ms. Johnson and Ms. Wildey permitted an American nurse

who had received a reprimand within the preceding 12 months to apply for that

position.

      56.    Ms. Sanusi complained to Tom Earnest, Defendant’s Director, Human

Resources Strategic Services and Delivery, of Ms. Johnson’s and Ms. Wildey’s

denial of her application for the Clinical Staff Manager position and the inequitable

application of the 12-month policy. However, Mr. Earnest affirmed the denial of

Ms. Sanusi’s promotion.

      57.    Ms. Abatan and Ms. Banks often worked together during their

orientation period as new Clinical Staff Managers. They were regularly singled out

by leadership for questioning regarding their competency as new managers.

Ms. Johnson, and those American staff members in the Unit who were close to her,

bullied, harassed, and used foul and condescending language towards Ms. Banks.

      58.    On or about November 8, 2019, Ms. Banks sent an email to Ms. Wildey

in which she expressed her concerns about Ms. Johnson’s behavior towards her.

                                         12
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 13 of 39




      59.    On or about November 21, 2019, Ms. Sanusi was named November’s

Daisy honoree.

      60.    On or about November 25, 2019, Ms. Banks participated in a leadership

meeting, wherein she was verbally attacked by Ms. Johnson.               Specifically,

Ms. Johnson attacked Ms. Banks’s intelligence and competence in front of other

members of the Unit’s leadership team. Although none of the other members spoke

up during the meeting, they later told Ms. Banks that Ms. Johnson’s behavior had

been unruly and inappropriate.

      61.    As a result of Ms. Johnson’s sustained, retaliatory, and abusive attacks

on Ms. Banks’s competence and intelligence, Ms. Banks began experiencing severe

anxiety.

      62.    On November 25, 2019, Ms. Banks escalated her concerns about

Ms. Johnson’s behavior to Ms. Wildey.          Ms. Banks told Ms. Wildey that she

believed that Ms. Johnson’s hostility towards her was motivated by the fact that

Ms. Banks had reported Ms. Johnson’s remarks about Africans, as well as

Ms. Johnson’s stated unwillingness to hire qualified applicants on the basis of that

African descent, to then-Director Laka.

      63.    Ms. Banks’s statements to Ms. Wildey concerning Ms. Johnson’s

discriminatory conduct constituted protected activity under Title VII.

                                          13
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 14 of 39




      64.    On November 25, 2019, Ms. Banks informed Ms. Wildey that she was

taking a mental health day from work. Ms. Banks needed to take a mental health

day as a result of the stress and anxiety caused by Ms. Johnson’s retaliatory conduct.

      65.    On or about November 26, 2019, and as a result of Ms. Johnson’s

sustained hostility towards her, Ms. Banks sought treatment from her primary care

physician, who prescribed her antidepressants for the overwhelming stress and

anxiety that she was experiencing. That same day, Ms. Banks informed Ms. Wildey

that she was taking medical leave related to her stress and anxiety until

December 2, 2019.

      66.    Ms. Banks’s anxiety caused by Ms. Johnson’s retaliation was severe.

It interfered with her health and personal life, including her marriage.

      67.    Ms. Banks sought counseling through Defendant’s Employee

Assistance Program.

      68.    On or about November 27, 2019, Ms. Banks escalated her concerns

about Ms. Johnson’s behavior to Human Resources Director Earnest via an email.

Ms. Banks noted that she previously had informed Ms. Wildey of Ms. Johnson’s

bullying, incivility, and defamatory statements.      Ms. Banks further noted that

Ms. Johnson had refused to orient Ms. Banks in her new position as Clinical Staff




                                          14
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 15 of 39




Manager, forcing Ms. Banks to acclimate to her new role without the support of

leadership.

      69.     In response to Ms. Banks’s email, on November 27, 2019, Mr. Earnest

stated that “I think it best to investigate the situation and as such I am asking Deonte

Fuller to reach out to you to[] obtain more detail.”

      70.     On information and belief, Mr. Fuller told Ms. Johnson that Ms. Banks

had filed a complaint against her.         After Ms. Banks filed her complaint,

Ms. Johnson’s behavior towards Ms. Banks became increasingly aggressive and

hostile. This included hostile and retaliatory treatment of Ms. Banks in Unit

leadership meetings.

      71.     Although the leadership meetings were ostensibly focused on matters

broadly related to the Unit’s leadership team, the meetings were used as a forum in

which Ms. Johnson could attack Ms. Banks.

      72.     In particular, on December 3, 2019, a leadership meeting presided over

by Ms. Wildey began with a discussion of Ms. Banks’s working relationship with

Ms. Johnson, even though no such discussion was on the meeting’s agenda. The

meeting participants also spoke more broadly about internal strife between the Unit’s

managers, including Ms. Johnson.




                                          15
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 16 of 39




      73.    In the December 3, 2019 meeting, Ms. Wildey informed the Unit’s

leadership team that she was designating Ms. Johnson and Naphia Bennett as her

“go-to” managers, with whom she would share confidential information that would

be withheld from the Unit’s other managers, including Ms. Banks.

      74.    Denise Mayhan, Defendant’s Project Manager for the “Talk With Me

Baby” program, attended the December 3, 2019 meeting. Ms. Mayhan participated

in the meeting as a mediator, at the request of Ms. Wildey.

      75.    Ms. Mayhan openly threatened Ms. Banks’s employment with

Defendant, stating that Ms. Banks would be “gotten rid of” if she did not “get over

the hurt feelings” and learn to get along.

      76.    After the meeting, Ms. Wildey asked to speak with Ms. Banks. During

their conversation, Ms. Wildey expressed concern over the medical leave that

Ms. Banks had taken and inquired into Ms. Banks’s mental health. Ms. Banks stated

that she was capable of performing her duties, despite the immense stress caused by

the challenging work environment fostered by Ms. Johnson.

      77.    Ms. Wildey then asked questions about Ms. Banks’s working

relationship with Ms. Johnson. Ms. Banks stated that she preferred not to discuss

that issue while Human Resources’ investigation into Ms. Johnson was pending.




                                             16
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 17 of 39




      78.    Next, Ms. Wildey reiterated that she would only confide in her “go-to”

managers on certain issues. When Ms. Banks inquired into Ms. Wildey’s rationale

for keeping information pertaining to the Unit from some of the Unit’s managers,

Ms. Wildey stated that she did not owe Ms. Banks or anyone else an explanation.

      79.    Following the December 3, 2019 meeting and her talk with Ms. Wildey,

Ms. Banks again emailed Mr. Earnest, this time copying John Haupert, Defendant’s

CEO, and Jacqueline Herd, Defendant’s Chief Nursing Officer. In that email,

Ms. Banks detailed: what transpired during the meeting; the statements made by

Ms. Wildey and Ms. Mayhan during the meeting; and her conversation with

Ms. Wildey following the meeting.

      80.    In her December 3, 2019 email, Ms. Banks stated that her conversation

with Ms. Wildey was a form of bullying, harassment, and intimidation. Ms. Banks

noted that Ms. Wildey previously had been unresponsive to her attempts to address

unprofessional conduct in the Unit. Ms. Banks also noted that Ms. Johnson, with

whom she still shared an office, continued to be hostile towards her.

      81.    In her December 3, 2019 email, Ms. Banks further asked Mr. Earnest

what the investigation into Ms. Johnson’s conduct looked like going forward. She

asked whether there was another HR member who could investigate, as Mr. Fuller




                                         17
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 18 of 39




and Ms. Johnson had a relationship with one another, and Ms. Banks was concerned

about Mr. Fuller’s bias.

      82.    On or about December 5, 2019, Ms. Banks had a meeting with Patient

Experience Consultant Kandise Bird, in which Ms. Bird repeatedly interrogated

Ms. Banks over the course of an hour about her working relationship with

Ms. Johnson, even though the meeting purportedly concerned patient satisfaction.

      83.    On December 6, 2019, Ms. Banks sent an email to Mr. Haupert as “a

sincere plea for help.” Ms. Banks described her December 5, 2019 meeting with

Ms. Bird and stated that the Unit was a “hostile work environment that is palpably

stressful.” Ms. Banks stated that “[t]he work environment on my current unit is

affecting my well-being in every way and I do not feel safe.” Additionally, she

stated that she would be visiting her primary care physician again “to help find a

solution for coping with the tremendous amount of stress I am experiencing. . . .”

      84.    Ms. Banks’s December 6, 2019 email to Mr. Haupert constituted

protected activity under Title VII.

      85.    On or about December 11, 2019, Ms. Banks met with Mr. Earnest for

approximately forty-five (45) minutes to discuss her prior email to him. She also

told Mr. Earnest about Ms. Johnson’s constant disparaging remarks about Africans

and Nigerians.

                                        18
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 19 of 39




      86.    Mr. Earnest stated that he could not do anything to stop the bullying,

harassment, and incivility of which Ms. Banks had complained, but he would follow

up with Ms. Banks about Ms. Johnson’s discriminatory remarks.            Ms. Banks

suggested that Mr. Earnest should also speak with other members of the Unit’s

leadership team, as they had similar experiences with Ms. Johnson.

      87.    Despite his assurances, Ms. Banks never heard anything further from

Mr. Earnest regarding the investigation into Ms. Johnson’s discriminatory remarks.

      88.    Ms. Banks’s December 11, 2019 meeting with Mr. Earnest constituted

protected activity under Title VII.

      89.    On or about December 19, 2019, Ms. Wildey promoted Ms. Johnson to

the position of interim Director of the Unit.

      90.    Shortly thereafter, Ms. Wildey announced that she would be stepping

down as Vice President of Women’s Services. Nicole Lescota replaced Ms. Wildey

in that role in approximately January 2020.

      91.    On or about February 27, 2020, Ms. Johnson, who had been working as

the Unit’s Director on an interim basis, interviewed to become the Unit’s permanent

Director.

      92.    During her interview on or about February 27, 2020, Ms. Johnson

stated that she preferred to hire non-African nurses because she believed that there

                                          19
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 20 of 39




were too many African nurses working in the Unit. Further, Ms. Johnson told the

interview panelists that she specifically had requested that Human Resources “send

me diversity because I need diversity.” Ms. Johnson also stated that “you can’t have

too much of the same,” which was a problem from which she believed the Unit

suffered because, according to Ms. Johnson, it had too many African nurses.

      93.    Ms. Sanusi was on Ms. Johnson’s interview panel, which also included

Ms. Lescota. Ms. Sanusi candidly offered her opinion of Ms. Johnson at the request

of the other panelists because she believed that it was being given in confidence.

      94.    Specifically, Ms. Sanusi raised concerns about Ms. Johnson’s

discrimination towards non-American nurses, particularly those from Africa. These

concerns were echoed by several other panelists.

      95.    Upon information and belief, Ms. Lescota recorded Ms. Sanusi’s

comments and shared them with Ms. Johnson. After Ms. Johnson became aware of

Ms. Sanusi’s statements, she acted increasingly aggressively towards Ms. Sanusi.

      96.    Ms. Sanusi’s opposition to Ms. Johnson’s discriminatory conduct

towards the Unit’s African nurses and African job applicants constituted protected

activity under Title VII.




                                         20
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 21 of 39




      97.    Over the panelists’ objections regarding Ms. Johnson’s discriminatory

statements and expressions of her intended decision-making process, Defendant

offered Ms. Johnson the Director of the Unit position, which she accepted.

      98.    As Director of the Unit, Ms. Johnson was a managerial employee who

had the authority to make decisions regarding who to hire, promote, and fire on

behalf of Defendant.

      99.    After Ms. Johnson assumed the role as the Unit’s permanent Director,

Ms. Banks, other members of the Unit’s leadership team, and other Unit staff

members complained to Ms. Lescota about the discrimination, bullying, and

harassment that they had suffered and continued to suffer at Ms. Johnson’s hands.

Ms. Lescota ignored those complaints, responding that she had been given “the

scoop” by Ms. Wildey on the Unit’s staff and interpersonal issues before she became

Vice President of Women’s Service.

      100. Ms. Banks’s complaints to Ms. Lescota regarding Ms. Johnson’s

history of discriminatory conduct constituted protected activity under Title VII.

      101. In approximately February 2020, Helen Okudo, who is of Nigerian

descent, submitted documentation that contained errors. Although Ms. Okudo

corrected those errors before the end of her shift, Ms. Johnson insisted that she be

suspended immediately.

                                         21
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 22 of 39




      102. Ms. Johnson justified her push for Ms. Okudo’s immediate suspension

by stating that she had received a patient complaint that same day about Ms. Okudo’s

bedside manner. Ms. Johnson also stated that she never had liked Ms. Okudo

because she was “rough,” and her “thick” Nigerian accent was difficult to

understand.

      103. When Ms. Johnson confronted Ms. Okudo about the error, Ms. Okudo

admitted the mistake. Ms. Johnson then escalated the investigation to Defendant’s

Compliance Department.

      104. It was unusual for the Unit’s Director to become involved in a

disciplinary measure of this type. Rather, such matters typically were handled by

the Clinical Staff Managers, including Ms. Banks.

      105. Ms. Johnson stated that she wanted to terminate Ms. Okudo, but

Ms. Banks and Ms. Abatan expressed that the incident did not warrant termination.

Instead, Ms. Banks and Ms. Abatan recommended coaching and education because

Ms. Okudo had been with Defendant for approximately twenty-three (23) years and

had no prior complaints or disciplinary write-ups in her personnel file.

      106. Notwithstanding Ms. Banks’s and Ms. Abatan’s express opposition to

Ms. Okudo’s firing, Ms. Johnson collaborated with the Compliance Department to




                                         22
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 23 of 39




terminate Ms. Okudo’s employment.             Specifically, Ms. Johnson pushed to

characterize Ms. Okudo’s error as a HIPPA violation warranting termination.

      107. Ms. Banks’s opposition to Ms. Johnson’s discriminatory termination of

Ms. Okudo’s employment constituted protected activity under Title VII.

      108. In contrast to the treatment that Ms. Okudo received for her error,

another American Unit employee accidentally sent a patient’s discharge paperwork

home with a different patient. This constituted a clear HIPAA violation, but the

American Unit employee was not written up, suspended, or terminated.

      109. In approximately March 2020, Ms. Johnson took several discriminatory

and/or retaliatory acts against Ms. Sanusi in retaliation for the concerns Ms. Sanusi

had raised as a member of Ms. Johnson’s interview panel.

      110. On or about March 19, 2020, Ms. Sanusi was scheduled to meet with

Ms. Lescota to voice her concerns about Ms. Johnson’s discriminatory treatment.

However, after Ms. Sanusi was unable to attend the meeting due to staffing needs

on the Unit floor, she told Ms. Lescota that she was unsure that she was willing to

reschedule because she was “very afraid.” Ms. Sanusi was describing her fear that

she would be retaliated against by Ms. Johnson if she spoke up about Ms. Johnson’s

conduct.




                                         23
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 24 of 39




      111. In approximately April 2020, Ms. Johnson demoted Ms. Sanusi from

Charge Nurse to Floor Nurse.

      112. Ms. Johnson stated that the decision to remove Ms. Sanusi from the

Charge Nurse position had been made by the previous Director of the Unit,

Ms. Laka. However, Ms. Laka left the Unit approximately six (6) months before

Ms. Johnson demoted Ms. Sanusi.

      113. An American nurse named Brenda Williams replaced Ms. Sanusi as

Charge Nurse.

      114. On or about April 30, 2020, Ms. Banks was called into Ms. Johnson’s

office to talk with Ms. Johnson and Ms. Lescota, allegedly about complaints that

they claimed they had received about Ms. Banks’s management style from her

subordinates. Ms. Johnson and Ms. Lescota interrogated Ms. Banks for nearly an

hour about her competency.

      115. Following the April 30, 2020 meeting, Ms. Banks sought constructive

feedback from one of her subordinates. That subordinate did not express any

concern to Ms. Banks regarding her solicitation of such feedback.

      116. On approximately May 6, 2020, Ms. Banks was again called into

Ms. Johnson’s office to meet with Ms. Johnson and Ms. Lescota. Ms. Banks was

presented with a “final written reprimand” for insubordination for seeking feedback

                                        24
        Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 25 of 39




from her subordinates. Ms. Banks had never before received any written or verbal

warnings during her employment with Defendant. She also had never been told not

to seek feedback from her subordinates.

         117. During that meeting, Ms. Johnson stated that she was aware that

Ms. Banks had filed complaints with Human Resources concerning her.

Ms. Johnson told Ms. Banks that she had to “bite her tongue” to prevent herself from

confronting Ms. Banks earlier.

         118. Ms. Banks refused to sign the unwarranted and retaliatory reprimand

and attempted to leave the room. However, Ms. Lescota told Ms. Banks that she

would be terminated if she left the room without signing the reprimand.

         119. Fearing how an involuntary termination would look to future employers

and being unwilling to sign the unwarranted and retaliatory reprimand, Ms. Banks

believed that she had no choice but to resign, which she then did.

         120. Defendant constructively terminated Ms. Banks’s employment in

retaliation for her protected activity of repeatedly opposing Ms. Johnson’s

continuous and systematic discrimination against non-American employees in the

Unit.

         121. In approximately June 2020, Ms. Johnson further retaliated against

Ms. Sanusi by denying her the opportunity to interview for the position of Clinical

                                          25
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 26 of 39




Staff Manager, for which Ms. Sanusi had applied. Ms. Johnson’s and Ms. Lescota’s

proffered reason for not interviewing Ms. Sanusi was that her application allegedly

had been misplaced.

      122. Due to the hostile work environment caused by Ms. Johnson’s

harassment of the Unit’s non-American nurses, including Ms. Sanusi, Ms. Sanusi

began experiencing severe mental, emotional, and physical stress—including

anxiety, depression, insomnia, and hypertension—for which she took a medical

leave of absence from on or about June 17, 2020, until approximately July 25, 2020.

      123. On or about Friday, October 2, 2020, a blood-pressure machine being

used for one of Ms. Sanusi’s patients malfunctioned, causing it to incorrectly display

a time that was three (3) hours delayed. Due to the delay, the patient’s doctor

incorrectly alleged that Ms. Sanusi did not timely inform the doctor about the

patient’s blood pressure. The incident was reported to Ms. Johnson.

      124. Ms. Johnson immediately suspended Ms. Sanusi on October 2, 2020,

and instructed her to write a statement regarding the blood-pressure incident as part

of an investigation that would be conducted. Ms. Johnson directed Ms. Sanusi not

to return to work until the statement was complete.

      125. On Monday, October 5, 2020, Ms. Johnson called Ms. Sanusi and

informed her that the investigation into the blood-pressure incident had been

                                         26
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 27 of 39




completed, even though Ms. Sanusi had not yet submitted the statement that she had

drafted, at Ms. Johnson’s direction, over the weekend.

        126. On October 6, 2020, Ms. Johnson terminated Ms. Sanusi, allegedly

based on the false accusation that she had failed to timely inform the doctor about

her patient’s blood pressure.

        127. Defendant terminated Ms. Sanusi because of her national origin and/or

because she engaged in protected activity of opposing national origin discrimination.

        128. After Ms. Sanusi was terminated, Katherine Corley, an American nurse

in the Unit, stated “one gone, one more to go,” a reference to the fact that only one

more foreign nurse outside of a leadership role was left in the Unit.

        129. At the time that Defendant terminated Ms. Sanusi’s employment in

October 2020, only approximately three (3) to four (4) African nurses remained in

the Unit, despite such nurses previously having comprised a majority of the Unit’s

approximately 25 to 30 nurses as late as approximately February 2020. The Unit’s

shift away from employing African nurses accelerated rapidly after Ms. Johnson

became Director.

        130. Ms. Johnson made a conscious and consistent effort to minimize the

number of African nurses in the Unit because of her discriminatory animus against

them.

                                         27
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 28 of 39




      131. Defendant’s actions and inactions in denying Ms. Sanusi a promotion

to Clinical Staff Manager on the basis of her national origin, terminating her on the

basis of her national origin, and/or retaliating against her for opposing the

discriminatory conduct on the basis of national origin described above, were willful,

wanton, and/or in reckless disregard for her rights under Title VII.

      132. Defendant’s actions and inactions in retaliating against Ms. Banks for

opposing the discriminatory conduct on the basis of national origin described above,

including eventually constructively terminating her employment, were willful,

wanton, and/or in reckless disregard for her rights under Title VII.

      133. Defendant acted with malice and/or with reckless indifference to

Plaintiffs’ federally-protected rights.

      134. Due to Defendant’s violations of federal law, Plaintiffs incurred lost

wages and benefits, and suffered emotional distress, inconvenience, mental anguish,

and loss of enjoyment of life.

      135. Defendant acted with the specific intent to harm Plaintiffs.




                                          28
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 29 of 39




                                    COUNT I
    Retaliation in Violation of Title VII—Retaliatory Denial of Promotion
                           (Asserted by Ms. Sanusi)
      136. Plaintiffs reassert and incorporate by reference all preceding paragraphs

of the Complaint.

      137. Ms. Sanusi engaged in protected activity under Title VII by, inter alia,

objecting to Ms. Johnson’s discriminatory treatment of the African nurses within the

Unit when Ms. Johnson interviewed to become the Unit’s permanent Director on or

about February 27, 2020, during which Ms. Johnson made known her preference for

non-African nurses.

      138. Following Ms. Sanusi’s objections to Ms. Johnson’s discriminatory

treatment of the Unit’s African nurses, and after Ms. Johnson became the Unit’s

permanent Director, Defendant retaliated against Ms. Sanusi by denying her the

opportunity to interview for the position of Clinical Staff Manager in June 2020.

      139. Defendant’s retaliation against Ms. Sanusi would have dissuaded a

reasonable person from engaging in protected activity.

      140. As a consequence of the retaliation she experienced from Defendant,

Ms. Sanusi has incurred lost wages and benefits, and suffered emotional distress,

inconvenience, mental anguish, and loss of enjoyment of life.




                                        29
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 30 of 39




      141. The actions and inactions of Defendant in retaliating against Ms. Sanusi

for engaging in protected activity were willful, wanton, and/or in reckless disregard

for her rights under Title VII.

      142. Defendant acted with malice and/or with reckless indifference to

Ms. Sanusi’s Title VII rights.

      143. Ms. Sanusi seeks all available relief under Title VII, including lost

wages and benefits, compensatory damages, punitive damages, prejudgment and

post-judgment interest, and reasonable attorneys’ fees and costs.

                                   COUNT II
                          Discriminatory Termination
            on the Basis of National Origin in Violation of Title VII
                            (Asserted by Ms. Sanusi)
      144. Plaintiffs reassert and incorporate by reference all preceding paragraphs

of the Complaint.

      145. Ms. Sanusi, who is originally from Sierra Leone, is a member of a

protected class for the purposes of Title VII.

      146. As evidenced by, inter alia, her numerous Daisy Award nominations

and extensive leadership experience as a Charge Nurse, Ms. Sanusi was qualified

for the position of Registered Nurse, which she held at the time when Defendant

terminated her employment.



                                          30
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 31 of 39




      147. Ms. Sanusi was terminated on or about October 6, 2020, in accordance

with, and pursuant to, Ms. Johnson’s continuous and systematic practice of

discriminating against non-American employees, and specifically discriminating

against African employees, in an ongoing campaign to reduce the number of African

employees in the Unit.

      148. Ms. Johnson, as Director of the Unit, had the authority to make

decisions regarding who to hire, promote, and fire on behalf of Defendant.

      149. Ms. Sanusi did not violate any work rule that would have warranted the

termination of her employment. Defendant’s reliance on her alleged failure to report

a patient’s blood pressure as justification for her termination was pretextual, as

evidenced by the cursory and incomplete nature of the investigation into the incident.

      150. As a direct and proximate result of Defendant’s discriminatory

termination of Ms. Sanusi, she incurred lost wages and benefits, and suffered

emotional distress, inconvenience, mental anguish, and loss of enjoyment of life.

      151. The actions and inactions of Defendant in discriminating against

Ms. Sanusi on the basis of her national origin were willful, wanton and/or in reckless

disregard for her rights under Title VII.

      152. Defendant acted with malice and/or with reckless indifference to

Ms. Sanusi’s Title VII rights.

                                            31
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 32 of 39




      153. Ms. Sanusi seeks all available relief under Title VII, including lost

wages and benefits, compensatory damages, punitive damages, prejudgment and

post-judgment interest, and reasonable attorneys’ fees and costs.

                                  COUNT III
        Retaliation in Violation of Title VII—Retaliatory Termination
                           (Asserted by Ms. Sanusi)

      154. Plaintiffs reassert and incorporate by reference all preceding paragraphs

of the Complaint.

      155. Ms. Sanusi engaged in protected activity under Title VII by, inter alia,

objecting to Ms. Johnson’s discriminatory treatment of the African nurses within the

Unit when Ms. Johnson interviewed to become the Unit’s permanent Director on or

about February 27, 2020, during which Ms. Johnson made known her preference for

non-African nurses.

      156. Following Ms. Sanusi’s objections to Ms. Johnson’s discriminatory

treatment of the Unit’s African nurses, and after Ms. Johnson became the Unit’s

permanent Director, Defendant retaliated against Ms. Sanusi, by, inter alia,

terminating her employment for pretextual reasons.

      157. Defendant’s retaliation against Ms. Sanusi would have dissuaded a

reasonable person from engaging in protected activity.




                                        32
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 33 of 39




      158. As a consequence of the retaliation she experienced from Defendant,

Ms. Sanusi has incurred lost wages and benefits, and suffered emotional distress,

inconvenience, mental anguish, and loss of enjoyment of life.

      159. The actions and inactions of Defendant in retaliating against Ms. Sanusi

for engaging in protected activity were willful, wanton, and/or in reckless disregard

for her rights under Title VII.

      160. Defendant acted with malice and/or with reckless indifference to

Ms. Sanusi’s Title VII rights.

      161. Ms. Sanusi seeks all available relief under Title VII, including lost

wages and benefits, compensatory damages, punitive damages, prejudgment and

post-judgment interest, and reasonable attorneys’ fees and costs.

                                  COUNT IV
Retaliation in Violation of Title VII—Retaliatory Harassment and Discipline
                           (Asserted by Ms. Banks)

      162. Plaintiffs reassert and incorporate by reference all preceding paragraphs

of the Complaint.

      163. Ms. Banks engaged in protected activity under Title VII by, inter alia:

             a. Complaining to then-Director Laka on or about April 24, 2019, that

                Ms. Johnson had stated that African nurses tended to be “rough,

                especially those Nigerians”;

                                         33
Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 34 of 39




      b. On or about June 27, 2019, opposing the discriminatory statements

         that Ms. Johnson made about job applicants whose resumes

         indicated that they might be Nigerian by informing then-Director

         Laka of those statements;

      c. On or about June 28, 2019, opposing Ms. Johnson’s creation of a pie

         chart indicating the national origin of the Unit’s staff to indicate that

         there were too many Africans in the Unit by percentage, as well as

         Ms. Johnson’s statements that there were “too many Nigerians and

         Africans” and it was “time to dilute some of the Nigerians out,” by

         raising the issue with then-Director Laka;

      d. Filing a complaint with Tom Earnest, Defendant’s Director, Human

         Resources Strategic Services and Delivery, regarding Ms. Johnson’s

         harassing and abusive conduct towards the Unit’s African staff; and

      e. Objecting to Ms. Johnson’s discriminatory treatment of the African

         nurses within the Unit when Ms. Johnson interviewed to become the

         Unit’s permanent Director on or about February 27, 2020, during

         which Ms. Johnson made known her preference for non-African

         nurses.




                                   34
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 35 of 39




      164. Defendant retaliated against Ms. Banks by subjecting her to retaliatory

harassment and discipline.      Specifically, Defendant imposed such intolerable

working conditions on Ms. Banks—including, but not limited to, a work

environment permeated by Ms. Johnson’s abusive and harassing behavior towards

Ms. Banks stemming from her opposition to Ms. Johnson’s discriminatory conduct,

as well as the demand that Ms. Banks sign an unwarranted and retaliatory final

written reprimand as a condition of continuing her employment.

      165. Defendant’s retaliation against Ms. Banks would have dissuaded a

reasonable person from engaging in protected activity.

      166. As a consequence of Defendant’s retaliatory harassment and

unwarranted discipline of her, Ms. Banks suffered emotional distress,

inconvenience, mental anguish, and loss of enjoyment of life.

      167. Defendant’s actions and inactions in retaliating against Ms. Banks for

engaging in protected activity were willful, wanton, and/or in reckless disregard for

her rights under Title VII.

      168. Defendant acted with malice and/or with reckless indifference to

Ms. Banks’s Title VII rights.




                                         35
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 36 of 39




      169. Ms. Banks seeks all available relief under Title VII, including

compensatory damages, punitive damages, prejudgment and post-judgment interest,

and reasonable attorneys’ fees and costs.

                                   COUNT V
         Retaliation in Violation of Title VII – Constructive Discharge
                            (Asserted by Ms. Banks)

      170. Plaintiffs reassert and incorporate by reference all preceding paragraphs

of the Complaint.

      171. Ms. Banks engaged in protected activity under Title VII by, inter alia:

            a. Complaining to then-Director Laka on or about April 24, 2019, that

                Ms. Johnson had stated that African nurses tended to be “rough,

                especially those Nigerians”;

            b. On or about June 27, 2019, opposing the discriminatory statements

                that Ms. Johnson made about job applicants whose resumes

                indicated that they might be Nigerian by informing then-Director

                Laka of those statements;

            c. On or about June 28, 2019, opposing Ms. Johnson’s creation of a pie

                chart indicating the national origin of the Unit’s staff to indicate that

                there were too many Africans in the Unit by percentage, as well as

                Ms. Johnson’s statements that there were “too many Nigerians and

                                          36
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 37 of 39




                 Africans” and it was “time to dilute some of the Nigerians out,” by

                 raising the issue with then-Director Laka;

             d. Filing a complaint with Tom Earnest, Defendant’s Director, Human

                 Resources Strategic Services and Delivery, regarding Ms. Johnson’s

                 harassing and abusive conduct towards the Unit’s African staff; and

             e. Objecting to Ms. Johnson’s discriminatory treatment of the African

                 nurses within the Unit when Ms. Johnson interviewed to become the

                 Unit’s permanent Director on or about February 27, 2020, during

                 which Ms. Johnson made known her preference for non-African

                 nurses.

       172. Defendant retaliated against Ms. Banks by subjecting her to ongoing

retaliatory harassment, which culminated in telling her that she had to sign an

unwarranted and retaliatory final disciplinary document or she would be terminated,

thereby forcing Ms. Banks to resign.

       173. Defendant constructively discharged Ms. Banks in retaliation for her

protected activity of repeatedly opposing national origin discrimination and the

resulting retaliation she suffered.

       174. Defendant’s retaliation against Ms. Banks would have dissuaded a

reasonable person from engaging in protected activity.

                                         37
     Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 38 of 39




          175. As a consequence of Defendant’s retaliatory harassment and discipline

of her, Ms. Banks incurred lost wages and benefits, and suffered emotional distress,

inconvenience, mental anguish, and loss of enjoyment of life.

          176. Defendant’s actions and inactions in retaliating against Ms. Banks for

engaging in protected activity were willful, wanton, and/or in reckless disregard for

her rights under Title VII.

          177. Defendant acted with malice and/or with reckless indifference to

Plaintiff Banks’s Title VII rights.

          178. Ms. Banks seeks all available relief under Title VII, including lost

wages and benefits, compensatory damages, punitive damages, prejudgment and

post-judgment interest, and reasonable attorneys’ fees and costs.

                                PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs demand a TRIAL BY JURY and the following

relief:

          a)   A declaratory judgement that the practices of Defendant complained of

herein are unlawful under Title VII;

          b)   Full lost wages and benefits;

          c)   Compensatory damages in an amount to be determined by the jury;

          d)   Punitive damages in an amount to be determined by the jury;

                                           38
    Case 1:21-cv-00627-ELR-RDC Document 1 Filed 02/12/21 Page 39 of 39




      e)      Attorneys’ fees and costs;

      f)      An award of prejudgment and post-judgement interest; and

      g)      All other equitable and other further relief as this court deems just and

proper.

           Respectfully submitted this 12th day of February 2021.

                                                /s/ Justin M. Scott
                                                Justin M. Scott
                                                Georgia Bar No. 557463
                                                Michael David Forrest
                                                Georgia Bar No. 974300
                                                Scott Employment Law, P.C.
                                                160 Clairemont Avenue, Suite 610
                                                Decatur, Georgia 30030
                                                Telephone: 678.780.4880
                                                Facsimile: 478.575.2590
                                                jscott@scottemploymentlaw.com
                                                mforrest@scottemploymentlaw.com

                                                Counsel for Plaintiffs




                                           39
